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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
–––––––––––––––––––––––––––––––––––––––––––– X
L & LEUNG LEATHERWARE LIMITED,                       :
                                                     :
                         Plaintiff and Counterclaim- :     17 Civ. 7374
                         Defendant,                  :
                                                     :     ANSWER TO
               -against-                             :     COLLECTION XIIX, LTD.’S
                                                     :     COUNTERCLAIMS
COLLECTION XIIX LTD. and LISA NUNZIATA,              :
                                                     :
                         Defendants and              :
                         Counterclaim Plaintiffs. :
–––––––––––––––––––––––––––––––––––––––––––– X
COLLECTION XIIX LTD. and LISA NUNZIATA,              :
                                                     :
                         Third-Party Plaintiffs,     :
                                                     :
               -against-                             :
                                                     :
ANDREW LEUNG,                                        :
                                                     :
                         Third-Party Defendant.      :
–––––––––––––––––––––––––––––––––––––––––––– X

                Plaintiff and counterclaim-defendant L & Leung Leatherware Limited (“L &

Leung” or “Plaintiff”) and third-party defendant Andrew Leung (“Leung”), as and for their

answer to the counterclaims of defendant Collection XIIX Ltd. (“Collection”) as alleged in

Collection’s Answer to Plaintiff’s Complaint, Affirmative Defenses, and Counterclaims, dated

December 15, 2017 (Doc. No. 14, the “Counterclaims”), respond as follows.

                                 NATURE OF THE CASE

                1.    Deny each and every allegation set forth in paragraph 1 of the

Counterclaims.

                2.    Deny each and every allegation in paragraph 2 of Counterclaims, except

admit that Collection seeks compensatory and punitive damages and a permanent injunction.




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                                         THE PARTIES

                3.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 3 of the Counterclaims.

                4.     Admit the allegations in paragraph 4 of the Counterclaims.

                5.     Admit the allegations in paragraph 5 of the Counterclaims.

                                JURISDICTION AND VENUE

                6.     Deny each and every allegation set forth in paragraph 6 of the

Counterclaims as legal conclusions to which no responsive pleading is required.

                7.     Deny each and every allegation set forth in paragraph 7 of the

Counterclaims as legal conclusions to which no responsive pleading is required.

                                  SUMMARY OF THE CASE

                8.     Deny each and every allegation set forth in paragraph 8 of the

Counterclaims, except admit that, in 2017, L & Leung encouraged Lisa Nunziata to find third-

party financing for Metamorphosis New York, Inc.

                9.     Deny each and every allegation set forth in paragraph 9 of the

Counterclaims, and respectfully refer the Court to the April 3, 2017 email for its full contents.

                10.    Deny each and every allegation set forth in paragraph 10 of the

Counterclaims.

                11.    Deny each and every allegation set forth in paragraph 11 of the

Counterclaims, and respectfully refer the Court to the May 21, 2017 email for its full contents.

                12.    Deny each and every allegation set forth in paragraph 12 of the

Counterclaims.

                13.    Deny each and every allegation set forth in paragraph 13 of the




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Counterclaims, and respectfully refer the Court to the proposed Termination Agreement for its

full contents.

                 14.   Deny each and every allegation set forth in paragraph 14 of the

Counterclaims, except admit that L & Leung retained counsel in the United States.

                 15.   Deny each and every allegation set forth in paragraph 15 of the

Counterclaims, and respectfully refer the Court to the July 19, 2017 letter for its full contents.

                 16.   Deny each and every allegation set forth in paragraph 16 of the

Counterclaims.

                            AS FOR A FIRST CAUSE OF ACTION
                                       (Defamation)

                 17.   Repeat and reallege the allegations set forth above as if fully set forth

herein.

                 18.   Deny and each every allegation set forth in paragraph 18 of the

Counterclaims.

                 19.   Deny each and every allegation set forth in paragraph 19 of the

Counterclaims.

                          AS FOR A SECOND CAUSE OF ACTION
                  (Tortious Interference with Prospective Business Relations)

                 20.   Repeat and reallege the allegations set forth above as if fully set forth

herein.

                 21.   Deny each and every allegation set forth in paragraph 21 of the

Counterclaims.

                 22.   Deny each and every allegation set forth in paragraph 22 of the

Counterclaims.




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                23.   Deny each and every allegation set forth in paragraph 23 of the

Counterclaims.

                24.   Deny each and every allegation set forth in paragraph 24 of the

Counterclaims.

                          AS FOR A THIRD CAUSE OF ACTION
                 (Malicious Interference with Prospective Business Relations)

                25.   Repeat and reallege the allegations set forth above as if fully set forth

herein.

                26.   Deny each and every allegation set forth in paragraph 26 of the

Counterclaims.

                27.   Deny each and every allegation set forth in paragraph 27 of the

Counterclaims.

                28.   Deny each and every allegation set forth in paragraph 28 of the

Counterclaims.

                             FIRST AFFIRMATIVE DEFENSE

                29.   The Counterclaims fail to state a claim upon which relief may be granted.

                            SECOND AFFIRMATIVE DEFENSE

                30.   The Counterclaims are barred, in whole or in part, by the claims asserted

in L & Leung’s Complaint.

                             THIRD AFFIRMATIVE DEFENSE

                31.   The Counterclaims against Leung are barred, in whole or in part, because

the Court lacks personal jurisdiction over Leung.

                            FOURTH AFFIRMATIVE DEFENSE

                32.   The Counterclaims are barred, in whole or in part, by the doctrine of



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unclean hands.

                              FIFTH AFFIRMATIVE DEFENSE

                 33.   The Counterclaims are barred, in whole or in part, because L & Leung and

Leung at all times acted in good faith.

                              SIXTH AFFIRMATIVE DEFENSE

                 34.   The Counterclaim for defamation is barred, in whole or in part, because

the allegedly defamatory statements are true.

                             SEVENTH AFFIRMATIVE DEFENSE

                 35.   Collection has not sustained any compensable damages for which L &

Leung or Leung may be liable.

                             EIGHTH AFFIRMATIVE DEFENSE

                 36.   Any damages suffered by Collection are reduced and/or set off by the

amounts Collection owes L & Leung under, inter alia, L & Leung’s claims asserted in the

Complaint.

                              NINTH AFFIRMATIVE DEFENSE

                 37.   The Counterclaims are barred, in whole or in part, by Collection’s failure

to mitigate its damages, if any.

                              TENTH AFFIRMATIVE DEFENSE

                 38.   L & Leung and Leung give notice that they intend to rely upon other

defenses that may become available or become apparent during subsequent proceedings in this

matter and reserve their right to amend their Answer to assert such defenses.

                 WHEREFORE, L & Leung and Leung demand judgment:

                       (i)     in L & Leung’s favor on its Complaint and dismissing Collection’s
                               Counterclaims against L & Leung and Leung with prejudice;



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                      (ii)   and for such other and further relief as the Court deems just and
                             proper.

Dated: New York, New York
       February 16, 2018

                                                  SULLIVAN & WORCESTER LLP


                                                  By: /s/ Gerry Silver
                                                                Gerry Silver
                                                     1633 Broadway, 32nd Floor
                                                     New York, New York 10019
                                                     Telephone: (212) 660-3096
                                                     Facsimile: (212) 660-3001
                                                     gerry.silver@sandw.com
                                                     Attorneys for L & Leung Leatherware
                                                       Limited and Andrew Leung




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